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          (U//FOUO)     and Bobby had seen each other around in high school in
          Woodland Park, but were not really friends back then.      joined the Army,
          and went away for a few years. When he returned he found Bobby on Facebook
          and they found they had similar interests, to include camping and shooting.
          They last went camping in July of 2020 or so.      was asked whether or not
          they carry bear spray when they are camping, and he said he always carries a
          handgun to scare away wildlife, he does not carry bear spray.

          (U//FOUO) The Woodland Wild Dogs are more of a group of friends than
          anything else. There is no initiation, there are no membership rolls, and
          there are no dues. They are just a group of friends who like guns and Star
          Wars.      is the one who had the patches made.      had some extra money
          laying around and decided to have the patches made. He said he had a total
          of ten patches made, and he still had two or three of them in his possession
          somewhere.      would not provide a number of people in Woodland Wild Dogs,
          but agreed it was around five people. The Woodland Wild Dogs are pro-
          government and pro-law enforcement, and their members are respectful to law
          enforcement when they encounter them.

          (U//FOUO) Bobby, for a time, worked at a Firearms store in Woodland Park,
          CO. Bobby also worked at a casino in Cripple Creek, CO as a dealer, where
          he made good money on tips. Due to COVID, Bobby was moved to a different
          job in the casino, then eventually was let go at the casino. The casino had
          been the main job Bobby had worked.

          (U//FOUO)     is frustrated at what happened at the Capitol Building.
          saw Bobby wearing the patch in different videos of the protest and was upset
          with it.      talked to Bobby the day before the protest while Bobby was
          walking around sight seeing in the D.C. area.      thought about telling
          Bobby to not wear the Woodland Wild Dogs patch in D.C., but thought Bobby
          was a big boy and he decided to not say anything to him about the patch.

          (U//FOUO) Bobby has been calling    from prison. The prison number was
          showing up as a spam risk, so    did not answer the first few times Bobby
          called. Bobby has been reading a lot of books during his time in prison so
          far. Bobby is dyslexic, so reading may be difficult for him.

          (U//FOUO) Bobby left to go to the protest within a day or two of the
          protest,     is not sure of the exact date. Bobby invited      to go before


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          be a reference for him.      declined to provide anyone else's name because
          he did not want to feel responsible for them getting a knock on their door
          from the FBI.

          (U) Present for the interview were SA A. Rinner, TFO D. Summey, and Woodland
          Park Police Department Detective S. Everhart.




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